      Case 4:22-cv-00304-MW-MAF Document 125 Filed 07/21/23 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

LEROY PERNELL, et al.,

       Plaintiffs,
                                                 Case No.: 4:22-cv-304-MW-MAF
v.

BRIAN LAMB, et al.,

       Defendants.
                                             /

     DEFENDANTS’ UNOPPOSED MOTION FOR ENTRY OF A FERPA
                     PROTECTIVE ORDER

       Pursuant to Fed. R. Civ. P. 26(c); the Family Educational Rights and Privacy

Act (FERPA), 20 U.S.C. § 1232g et seq.; 34 CFR Part 99, et seq.; and other

applicable law, the Defendants move for entry of an order to facilitate discovery and

to govern the use of FERPA information and documents. See, Doe 1 v. Baylor Univ.,

2022 WL 180154, at *2 (W.D. Tex. Jan. 20, 2022) (approving use of protective order

and “Attorney’s Eyes Only” designation to protect FERPA-protected). The parties

have discussed these issues and agreed to the language on the proposed order

attached hereto as Exhibit 1. In support of the Unopposed Motion, Defendants state

the following:

       1.    FERPA protects the privacy of students. See 20 U.S.C. § 1232g (b)(1).

It is the Universities’ obligation to ensure that students’ privacy is protected. Id.

                                         1
     Case 4:22-cv-00304-MW-MAF Document 125 Filed 07/21/23 Page 2 of 5




While FERPA does not prevent discovery related to school records, it does place a

high burden on a party seeking access to student records. See Policy of Family

Educational Rights Privacy Act (FERPA), 17A Fed. Proc., L. Ed. § 42:1629.

       2.    As part of the discovery process in this matter, the parties have agreed

on certain custodians associated with the Defendants and certain search terms to be

run on the electronic records retained by those custodians.

       3.    Although the parties have worked together to craft and narrow the

search terms, in Defendants’ view, the resulting terms nevertheless remain quite

broad. Indeed, Defendants expect to produce approximately 250,000 documents.

Plaintiffs, however, disagree with Defendants’ characterization of the breadth of the

search terms and, without having received and reviewed the full document

production, reserve all rights related to Defendants’ production.

       4.    University Defendants have developed a protocol for segregating

potentially FERPA protected documents for each of the University Defendant’s

custodians. The protocol has been shared with counsel for the Plaintiffs during

multiple Meet and Confers. Based on this protocol, Defendants have determined that

numerous documents that are responsive to the search terms may contain FERPA

protected information. The approximate number of potentially FERPA protected

documents from each Defendant University that have also hit on one of Plaintiffs’

search terms is substantial:

                                          2
     Case 4:22-cv-00304-MW-MAF Document 125 Filed 07/21/23 Page 3 of 5




             a. Florida Agricultural & Mechanical University (FAMU) 30,000
                documents;

             b. University of Central Florida (UCF) 21,000 documents;

             c. Florida State University (FSU) 32,000 documents;

             d. University of South Florida (USF) 15,600 documents;

             e. Florida International University (FIU) 42,000 documents; and

             f. University of Florida (UF) 26,000 documents.

In total, the potentially FERPA-protected set amounts to nearly 167,000 documents.

       5.    Neither the parties, counsel, nor the University Defendants have had to

produce potentially FERPA protected documents on this scale before this litigation.

       6.    Typically, an education record is no longer considered FERPA

protected once identifying information has been redacted.

       7.    The redaction process entails more than redacting names, social

security numbers and personal traditional PII, which can be redacted in a relatively

automated process with certain e-discovery tools.

       8.    The redaction process here is more nuanced and time consuming and

will require a document-by-document review and manual redactions to ensure that

personally identifiable information is captured by the redactions. This may include

redacting specific facts or details that can be used to identify the student. Given the

high volume of documents that potentially contain FERPA protected information.

the costs associated with such a review will be significant.
                                          3
     Case 4:22-cv-00304-MW-MAF Document 125 Filed 07/21/23 Page 4 of 5




       9.    Based on the time it has taken UCF and FIU to redact FERPA-protected

records in response to previous public records requests, the review and redaction

time could average 2-3 minutes per document (or potentially longer), and therefore,

depending on the number of pages, require as much as 8,300 hours of

review/redaction time. Using these estimates, the review, redaction and production

of these documents could very likely cost the Defendants at least $1,000,000 and

certainly will unnecessarily delay production.

       10. In order to avoid the expense and time required, Defendants propose

that potentially FERPA protected documents be produced pursuant to the attached

protective order.

      By agreeing to the language of the proposed order, the parties do not waive

any objection they may have to requests for documents or information that would be

covered by the proposed order. WHEREFORE, the Defendants request that the

Court enter the attached proposed order.

Dated: July 21, 2023                           Respectfully submitted,

                                               /s/John D. Ohlendorf
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                                           4
     Case 4:22-cv-00304-MW-MAF Document 125 Filed 07/21/23 Page 5 of 5




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of July 2023, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that

the foregoing document is being served on all counsel of record via transmission of

Notices of Electronic Filing generated by CM/ECF.


                                      /s/John D. Ohlendorf
                                      John D. Ohlendorf




                                         5
